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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                   Holding a Criminal Term

                            Grand Jury Sworn in on January 8, 2021

  UNITED STATES OF AMERICA                           CRIMINAL NO. 21-cr-246

                v.                                   GllANJ) JURY ORIGINAL

 DANIEL JOSEPH "DJ'' RODRIGUEZ,                      VIOLATIONS:
 (Counts 1, 2, 3, 4, 6, 7, 8, 10)
                                                     18 u.s.c. § 371
 EDWARD BADALIAN,                                    (Conspiracy)
 (Counts 1, 2, 3, 10)                                18 u.s.c. §§ 1512(c)(2), 2
                                                     (Obstruction of an Official Proceeding and
                                                     Aiding and Abetting)
 (Counts 1, 2, 3, 5, 7, 9, 10)                   :   18 U.S.C. § 1512(c)(l)
                                                     (Tampering with Documents or
                                                     Proceedings)
                                                     18 U.S.C. § 231(a)(3)
                                                     (Obstruction of Law Enforcement During
                                                     Civil Disorder and Aiding and Abetting)
                                                     18 U.S.C. §§ lll(a)(l) and (b)
                     Defendants.                     (Inflicting Bodily Injury on Certain Officers
                                                     Using a Dangerous Weapon)
                                                     18 u.s.c. § 641
                                                     (Theft of Government Property)
                                                     18 u.s.c. § 1361
                                                     (Destruction of Government Property)
                                                      18 U.S.C. § 1752(a)(l) and (b)(l)(A)
                                                     (Entering and Remaining in a Restricted
                                                     Building or Grounds)

                                                              Case No.1 :21-cr-246
                                                              Assign to: Judge Amy B. Jackson
                                                              Description: SUPERSEDING INDICTMENT (B)
                                                              Case Related to 21-cr-246 (ABJ)
                                        INDICTMENT
       The Grand Jury charges that, at all times material to this Indictment, on or about the dates

stated below:

                                          Introduction
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 The 2020 United States Presidential Election and the Official Proceeding on January 6, 2021

        1.      The 2020 United States Presidential Election occurred on November 3, 2020.

        2.      The United States Electoral College ("Electoral College") is a group required by

the Constitution to form every four years for the sole purpose of electing the president and vice

president, with each state appointing its own electors in a number equal to the size of that state's

Congressional delegation.

        3.      On December 14, 2020, the presidential electors of the Electoral College met in the

state capital of each state and in the District of Columbia and formalized the result of the 2020

U.S. Presidential Election: Joseph R. Biden Jr. and Kamala D. Harris were declared to have won

sufficient votes to be elected the next president and vice president of the United States.

        4.     On January 6, 2021, a Joint Session of the United States House of Representatives

and the United States Senate ("the Joint Session") convened in the United States Capitol ("the

Capitol") building to certify the vote ofthe Electoral College of the 2020 U.S. Presidential Election

(''the Electoral College vote").

                                            Defendants

       5.      DANIEL JOSEPH "Dr' RODRIGUEZ was a 38-year-old resident of Panorama

City, California.

       6.      EDWARD BADALIAN was a 26-year-old resident of North Hills, California.

       7.                          was a   -year-old resident of              ,

       8.      In the fall of 2020 U.S. Presidential election, RODRIGUEZ, BADALIAN, and

others created a Telegram group chat, the "PATRIOTS 45 MAGA Gang," hereinafter ''the

PATRIOTS 45 group chat," to support former President Donald J. Trump and to discuss what

RODRIGUEZ and BADALIAN asserted was a stolen or :fraudulent election result.




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        9.      From at least in or around November 2020, RODRIGUEZ and BADALIAN used

the PATRIOTS 45 group chat as a platform to advocate violence against certain groups and

individuals that either supported the 2020 presidential election results, supported what the group

perceived as liberal, or communist ideologies, or held positions of authority in the government.

        10.     In late 2020, RODRIGUEZ, BADALIAN and                        all attended rallies in

Southern California, including in Huntington Beach and Beverly Hills, that supported then-

President Trump and protested various issues including COVID-19 mask mandates in California.


                   The Attack at the United States Capitol on January 6, 2021

        11.     The Capitol is secured 24 hours a day by United States Capitol Police ("Capitol

Police"). The Capitol Police maintain permanent and temporary barriers to restrict access to the

Capitol exterior, and only authorized individuals with appropriate identification are allowed inside

the Capitol building.

        12.     On January 6, 2021, the exterior plaza of the United States Capitol was closed to

members of the public.

        13.    On January 6, 2021, at approximately 1:00 p.m., the Joint Session convened in the

Capitol building to certify the Electoral College vote. Vice President Michael R Pence presided,

first in the Joint Session and then in th<:: Senate chamber.

        14.    A large crowd began to gather outside the Capitol perimeter as the Joint Session

got underway. Crowd members eventually forced their way through, up, and over Capitol Police

barricades and advanced to the building's exterior fayade. Capitol Police officers attempted to

maintain order and stop the crowd from entering the Capitol building, to which the doors and

windows were locked or otherwise secured. Nonetheless, shortly after 2:00 p.m., crowd members

forced entry into the Capitol building by breaking windows, ramming open doors, and assaulting



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Capitol Police officers. Other crowd members encouraged and otherwise assisted the forced entry.

The crowd was not lawfully authorized to e~ter or remain inside the Capitol, and no crowd member

submitted to security screenings or weapons checks by Capitol Police or other security officials.

        15.     Shortly thereafter, at approximately 2:20 p.m., members of the House and Senate

(including Vice President Pence) were evacuated from their respective chambers. The Joint

Session was halted while Capitol Police and other law-enforcement officers worked to restore

order and clear the Capitol of the unlawful occupants.

        16.     Later that night, law enforcement regained control ofthe Capitol. At approximately

8:00 p.m., the Joint Session reconvened, presided over by Vice President Pence, who had remained

hidden within the Capitol building throughout these events.

        17.     During the course ofthese events, at least 120 members ofthe United States Capitol

Police and members of the Metropolitan Police Department were assaulted. The Capitol suffered

millions of dollars in damage-including broken windows and doors, graffiti, and residue from

pepper spray, tear gas, and fire extinguishers deployed both by crowd members who stormed the

Capitol and by Capitol Police officers trying to restore order. Additionally, many media members

were assaulted and had cameras and other news-gathering equipment destroyed.

                                     COUNT ONE
        Conspiracy to Commit an Offense Against the United States--18 U.S.C. § 371

        18.     The allegations in paragraphs 1 through 17 are realleged and incorporated as if fully

set forth in this paragraph.

        19.    Between on or about December 19, 2020, and or on about January 19, 2021, within

the District of Colµmbia and elsewhere, the defendants,


                                     DANIEL RODRIGUEZ,
                                  EDWARD BADALIAN, and



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did knowingly and willfully conspire, combine, confederate, and agree together with each other

and with other individuals whose identities are both known and unknown to the Grand Jury, to

commit offenses against the United States, namely: (1) to corruptly obstruct, influence, and impede

an official proce'eding, that is, Congress's certification of the Electoral College vote, in violation

of Title 18, United States Code, Section 1512(c)(2), and (2) to corruptly alter, destroy, mutilate,

and conceal a record, document, and other object with the intent to impair its integrity and

availability for use in an official proceeding, that is, the grand jury investigation into the attack on

the Capitol on January 6, 2021, in violation of Title 18, United States Code, Section 1512(c)(l).

                                       Goals of the Conspiracy

        20.       The goals of the conspiracy were (1) to stop, delay, and hinder Congress's

.Certification of the Electoral College vote, and (2) to corruptly alter, destroy, mutilate, and conceal

~ record,   document, or other object to prevent evidence of their unlawful acts on January 6, 2021

from being used in an official proceeding, that is, the grand jury investigation into the attack of the

Capitol on January 6, 2021.

                                         Manner and Means

        21.       RODRIGUEZ, BADALIAN,                       and other persons whose identities are

known and unknown to the grand jury, carried out the conspiracy though the following means,

among others, by:

              a. Encouraging each other to attend the Stop the Steal rally in Washington, D.C., on

                 January 6, 2021;

              b. Collecting weapons and tactical gear to bring to Washington, D.C., to include a

                 taser, pepper spray, a baseball bat, gas masks, and walkie talkies; _

              c. Acquiring a rental vehicle and travelling from California to Washington, D.C., prior



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                   to the January 6 events;

               d. Storming past barricades to gain unlawful access to the grounds of the Capitol;

               e. Participating in violent obstruction oflaw enforcement's attempts to remove rioters

                   from the tunnel on the L~wer West Terrace of the Capitol;

              f.   Assaulting, opposing, impeding, intimidating and interfering with members of law

                   enforcement to prohibit them from defending the Capitol grounds and building

                   from rioters seeking to gain violent entry;

              g. Obtaining unlawful entry into the Capitol building as a result of damage to windows

                   on the Lower West Terrace;

              h. Damaging property inside the Capitol building;

              1.   Stealing emergency escape hoods from inside the Capitol building;

              J.   After returning to California, attempting to mutilate or destroy photographs and

                   videos taken by PERSON ONE in order to prevent such evidence from being

                   presented to the grand jury investigating the attack on January 6.

                                               Overt Acts

        22.        During and in furtherance of the conspiracy, and to effect the object thereof, the

defendants DANIEL RODRIGUEZ, EDWARD BADALIAN,                                           and other co-

conspirators known and unknown to the Grand Jury, committed the following overt acts, among

others, in the District of Columbia and elsewhere:

                                    Preparing for January 6, 2021

        23.         On or about December 19, 2020, a person whose identity is known to the grand

jury posted in the PA1RIOTS 45 group chat that "Trump is calling on everyone to go to DC Jan

&11"   along with a screenshot of a Twitter post by former President Trump, which stated

"Statistically impossible to have lost the 2020 Election. Big protest in D.C. on January 6th • Be


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 there, will be wild!" Then on or about December 20, 2020, BADALIAN posted in the PATRIOTS

 45 group chat "okay so who is down to drive to DC on Jan 4?"

        24.       On or about December 21, 2020, BADALIAN posted in the PATRIOTS 45 group

 chat, "we need to violently remove traitors and if they are in key positions rapidly replace them

with able bodied Patriots."

        25.       On or about December 22, 2020, BADALIAN posted in the PATRIOTS 45 group

chat, ''he [i.e., President Trump] has to let it sit on his desk until Jan 3 / veto / by the time mitch

[i.e., Senate Majority Leader Mitch McConnell] can do the override we will be there / then he can

invoke and Patriots will be a[t] the ready."

      · 26.       On or about December 23, 2020, RODRIGUEZ told the PATRIOTS 45 group chat,

· ''we gotta go handle this shit in DC so the crooked politicians don't have an army of thugs

threatening violence to back their malevolent cabal ways[.]"

        27.       On or about December 26, 2020, BADALIAN posted a flyer in the PATRIOTS 45

group chat titled "MAGA_CAVALRY," showing a map of the Eastern              p.alf of the United States
and several "rally points" ''to connect patriot caravans to StopTheSteal in D.C.," to enable groups

to arrive in Washington, D.C. by 6 p.m. on January 5, 2021.

       28.        On or about December 29, 2020, RODR,IGUEZ posted in the PATRIOTS 45 group

chat, "Congress can hang. I'll do it. Please let us get these people dear God."

       29.        On ot about December 31, 2020,               stated in a video taken by PERSON

TWO that those individuals who were contrary to Biden would "never give up'' and would "fight

until we get our country back." When PERSON TWO said, ''we are taking this shit back,"

              answered, ''yeah, absolutely, yes."

       30.       Between on or about December 31, 2021 and on or about January 4, 2021, before




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 leaving Southern California for Washington, D.C., RODRIGUEZ told a person whose identity is

 known to the grand jury that RODRIGUEZ would "assassinate Joe Biden" if he got the chance

 and ''would rather die than live under a Biden administration."

                                     Travel to Washington, D.C

        31.     On or about January 1, 2021, RODRIGUEZ posted in the PATRIOTS 45 group

chat a link to an AirBNB on Washington Boulevard in Arlington, Virginia, where RODRIGUEZ

and others planned to stay upon their arrival in the Washington, D.C. area

        32.     After posting the link to the AirBNB on or about January 1, 2021, RODRIGUEZ

also posted in the PATRIOTS 45 group chat, "[p]lus we have a giant van so it's like an army inside

lol."

        33.     On or about January 2, 2021, BADALIAN confirmed to the PATRIOTS 45 group

chat that he had respirators, masks, snow goggles, knee pads and baseball helmets for the group,

and recommended that others obtain more snow goggles.

        34.     On or about January 3, 2021, BADALIAN and another person whose identity is

known to the grand jury went to Enterprise car rental at Los Angeles International Airport to rent

a :vehicle for the trip to Washington, D.C. ·

        35.     On or about January 3, 2021, RODRIGUEZ, BADALIAN, and other individuals

whose identities are known to the grand jury then left Los Angeles and drove across the country

to Washington, D.C.

        36.     On or about January 5, 2021, BADALIAN posted in the PATRIOTS 45 group chat:

''we don't want to fight antifa lol we want to arrest traitors."

        37.     On or about January 5, 2021, RODRIGUEZ, BADALIAN, and the others in the

vehicle joined a caravan to Washington, D.C. in Louisville, K.Y.




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         38.       On or about January 5, 2021, during the caravan to Washington, D.C.,

BADALIAN, RODRIGUEZ, and others in the van set up communications via a radio

communications cellphone application with others in the caravan.

        39.        On or about January 5, 2021, RODRIGUEZ, BADALIAN, and the others in the

vehicle arrived at the AirBNB in Arlington, Virginia

        40.        On or about January 5, 2021,            flew from Los Angeles, California, to San

Francisco, California, and then to the Washington, D.C. metro area, landing at Washington Dulles

International Airport in Dulles, Virginia, on the morning of January 6, 2021.

        41.       On or about January 5, 2021, RODRIGUEZ posted in the PATRIOTS 45 group

chat: ''There will be blood. Welcome to the revolution."

               January 6, 2021: Joint Participation by the Defendants in the Riot at the Capitol

        42.       In or around the morning hours on or about January 6, 2021, RODRIGUEZ,

BADALIAN, and others whose identities are known and unknown to the grand jury, met in a group

in downtown Washington, D.C. to walk to the Ellipse for a rally featuring a speech by former

President Trump.

        43.       On or about January 6, 2021, after the rally, RODRIGUEZ and BADALIAN,

bearing walkie talkies, walked down Pennsylvania A venue to the Capitol.

        44.       At approximately 10:11 a.m., on or about January 6, 2021,                 sent a text

message to PERSON TWO, stating that                     and others were at the Ellip~e and asking if

PERSON TWO wanted to "connect with us and roll in force?"

        45.       At approximately 1:50 p.m., on or about January 6, 2021,                sent another

text message to the same person stating, ''we are at the capitol steps, it is going off, the people are

breaking down the barriers, the battle has begun."




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           46.   At approximately 2:40 p.m., on or about January 6, 2021, RODRIGUEZ,

BADALIAN, and                   gathered with thousands of others at the Lower West Terrace of the

Capitol building.

           47.   Shortly after 2:40 p.m., on or about January 6, 2021, RODRIGUEZ and

joined rioters who were gathering in a tunnel on the Lower West Terrace of the Capitol, trying to

gain access to the building.

           48.   From approximately 2:40 p.m. to approximately 3:15 p.m., on or about January 6,

2021, RODRIGUEZ,                   and other rioters were pushing against police officers who were

trying to prevent the rioters from entering the Capitol building and to remove the rioters from the

tunnel.

           49.   On_ or about January 6, 2021, RODRIGUEZ advanced into the tunnel to the

doorway on the lower west terrace, where he participated in a "heave ho" effort with the other

rioters.

           50.   Between approximately 2:42 p.m. and 3: 18 p.m., on or about January 6, 2021, while

in the tunnel, RODRIGUEZ threw a flagpole at the police line in the doorway and deployed a :fire

extinguisher at the officers.

           51.   At approximately 2:52 p.m., on or about January 6, 2021, while in the tunnel,

RODRIGUEZ received a small, black electroshock weapon from another rioter inside the tunnel,

who assisted RODRIGUEZ in turning on the device.

           52.   At approximately 2:55 p.m., on or about January 6, 2021,            advanced into

the sallyport between the :first and second doors to the United States Capitol building and resisted

Metropolitan Police Department Officer N.I. 's attempts to remove him from that area for over 20




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minutes. While N.I. and other officers attempted to remove him,               stated to the officers

"liberty or death, gentlemen!"

        53.      At approximately 3:06 p.m., on or about January 6, 2021,                      yelled

encouragement to the other rioters attempting breach the door including: "Hold the line!" "Don't

surrender! Fight for Trump!" and "Push forward, Patriots! If you are gonna die, it best be on

Capitol Hill!"

        54.      At approximately 3:18 p.m.; on-or about January 6, 2021, another rioter pulled

Metropolitan Police Department Officer M.F. out of the police line and into the crowd. Shortly

thereafter, RODRIGUEZ twice applied the small, black electroshock weapon to the back of Officer

M.F.'s neck. Officer M.F. subsequently lost consciousness and was later admitted to Washington

Hospital Center for treatment for his injuries.

        55.      At approximately 3:45 p.m., on or about January 6, 2021, rioters broke the window

to the left of the tunnel on the Lower West Terrace. After the window was broken,

climbed through the window and into the Capitol building, followed shortly by RODRIGUEZ and

BADALIAN, uniting the three co-conspirators in room ST2M.

        56.      Once inside the Capitol building, on or about January 6, 2021, RODRIGUEZ stood

atop some :furniture in room ST2M, and ~ounced to all _the rioters present inside that "they have

shot and killed a girl."

        57.      Subsequent to that statement, on or about January 6, 2021,            led the rioters

out of the initial room they had entered and made their way toward adjacent offices.

       58.       Thereafter, on or about January 6, 2021, RODRIGUEZ attempted to break another

window in the adjacent, second o.ffice--ST4M-by slamming a flagpole repeatedly into the

window, causing damage to the window in excess of$1,000.




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        59.     On or about January 6, 2021,               assisted rioters who were attempting to

gain access to a third office--ST6M-in the same suite of offices. When the door would not open,

              kicked the door twice, attempting to force entry. Other rioters did the same,

successfully.             once again kicked the door twice to force entry, causing damage to the

door.

        60.     On or about January 6, 2021, after another rioter picked the lock and the defendants

gained access to ST6M, RODRIGUEZ verbally encouraged'other rioters to look for "intel."

        61.     On or about January 6, 2021, in office ST6M, RODRIGUEZ and                  opened

bags in the office, rifled through papers on the desks, and subsequently removed emergency escape

hoods from the bags.              carried two emergency escape hoods from the building when he

exited. RODRIGUEZ was subsequently photographed holding an emergency escape hood.

        62.     At approximately 4:00 p.m., on or about January 6, 2021, RODRIGUEZ posted in

the PATRIOTS 45 group chat, "Omg I did so much fucking.shit m and got away tell you later"

and "Tazzzzed the fuck out of the blue[.]"

                         After January 6, 2021: Attempts to Destroy Evidence

        63.     On or about January 7, 2021,              canceled his return flight to California,

which was scheduled for January 8, 2021.

        64.     On or about January 7, 2021,              joined RODRIGUEZ, BADALIAN and

other individuals whose identities are known to the grand jury, in the rental vehicle for the return

drive to California from Washington, D.C.

        65.     On or about January 8, 2021, during the drive back to California, BADALIAN

appeared on the INFOWARS call-in show "War Room" under the pseudonym "Turbo." During

the interview, BADALIAN discussed his participation in the events at the Capitol on January 6,




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2021, while photographs and videos of BADALIAN at the Lower West Terrace of the Capitol

played for viewers.

        66.    On or about January 8, 2021, during the INFOWARS interview BADALIAN

discussed video footage that had been provided to INFOWARS by PERSON ONE. The footage

showed BADALIAN attacking another rioter on the Lower West Terrace beneath the windowsill

of the window that was ultimately broken· by rioters. BADALIAN explained that the footage

depicted him fighting a person who he believed to be a member of Antifa disguised as a Trump

supporter. Immediately after BADALIAN's interview, PERSON ONE was interviewed by

INFOWARS about the same video. During that interview, PERSON ONE referred to BADALIAN

as ''Ed," as opposed to the pseudonym "Turbo," which BADALIAN had used to obscure his true

identity during his interview.

       67.     After the INFOWARS interview, on or about January 8, 2021, RODRIGUEZ called

PERSON ONE and asked if RODRIGUEZ, BADALIAN, and                         could come to visit

PERSON ONE when they returned to California (where they all resided). PERSON ONE agreed

and gave PERSON ONE's address.

       68.     Upon arriving back in California, on or about January 10, 2021, RODRIGUEZ

drove BADALIAN and                to PERSON ONE's home.

       69.     During the visit to PERSON ONE's home on or about January 10, 2021,

walked around PERSON ONE's residence, unplugged all of PERSON ONE's Amazon Alexa

devices, and indicated through miming to PERSON ONE not to speak out loud.

       70.     On or about January 10, 2021, while at PERSON ONE's residence,

wrote in a notebook belonging to PERSON ONE, "I WANT TO HELP YOU DELETE

EVERYTHING AND TO 1RANSFER THE FILES TO A SECURE HARD DRIVE." PERSON




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ONE believed that               was discussing photos and videos taken by PERSON ONE at the

United States Capitol on January 6, 2021, including materials that showed RODRIGUEZ,

BADALIAN, and                  participating in the riot.

        71.      On or about January 10, 2021, BADALIAN told PERSON ONE that he did not

want PERSON ONE using his name when discussing the events at the United States Capitol on

January 6, 2021. PERSON ONE believed this was because PERSON ONE had used·

BADALIAN's true first name when talking to INFOWARS, instead of the pseudonym "Turbo."

        72.      Between on or about January 10, 2021, and on or about January 19, 2021,

              arrived at PERSON ONE's house a second time, and asked PERSON ONE to go to
                                                                        I




Best Buy with him to buy a hard drive to download all of PERSON ONE' s January 6 photographs

and videos from PERSON ONE's phone. PERSON ONE did not get the hard drive, nor did

PERSON ONE delete the photographs or videos.


        (In violation of1;'itle 18, United States Code, Sections 371)

                                      COUNTTWO
 18 U.S.C. §§ 1512(c)(2), 2-0bstruction of an Official Proceeding and Aiding and Abetting

        73.     Paragraphs 1 through 17 and paragraphs 22 through 72 of this Indictment are re-

alleged and incorporated as though set forth herein.

        74.     On or about January 6, 2021, within in the District of Columbia, the defendants,

                                   DANIEL RODRIGUEZ,
                                  EDWARD BADALIAN, and


attempted to, and did, corruptly obstruct, influence, and impede an official proceeding, that is, the

certification of the Electoral College vote, and did aid and abet each other and others known and

unknown to do the same.

       (In violation of Title 18, United States Code, Sections 1512(c)(2) and 2)


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                                       COUNT THREE
               18 U.S.C. § 1512(c)(1)-Tamperingwith Documents or Proceedings

        75.      Paragraphs 1 through 17 and paragraphs 22 through 72 of this Indictment are re-

 alleged and incorporated as though set forth herein.

        76.      On January 6, 2021, the Washington, D.C. Field Office of the Federal Bureau of

Investigation ("FBI") opened an investigation into the attack on the Capitol, and a grand jury of

the United States District Court for the District of Columbia: subsequently opened an investigation.

        77.      Between on or about January 6, 2021, and on or about January 19, 2021, the

defendants, within the District· of Columbia and elsewhere, the defendants,

                                        DANIEL RODRIGUEZ,
                                       EDWARD BADALIAN, and


did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and

attempted to do so, with the intent to impair its integrity and availability for use in an official

proceeding, that is, the grand juzy investigation into the attack on the Capitol on January 6, 2021.

                  (In violation of Title 18, United States Code, Section 1512(c)(l))


                                        COUNTFOUR
             18 U.S.C. § 23l(a)(3)-0bstruction of Law Enforcement During Civil Disorder

        78.     Paragraphs one tbrough, 17 and paragraphs 22 through 72 of this Indictment are re-

alleged and incorporated as though set forth herein.

       79.      On or about January 6, 2021, within the District of Columbia, DANIEL

RODRIGUEZ, committed and attempted to commit an act to obstruct, impede, and interfere with

a law enforcement officer, that is M.F., an officer from the Metropolitan Police Department,

lawfully engaged in official duties incident to and during the commission of a civil disorder, and

the civil disorder obstructed, delayed, and adversely affected commerce and the movement of ru;ty



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article and commodity in commerce and the conduct and performance of a federally protected

function, as set forth in paragraph 1 through paragraph 17.

        (In violation of Title 18, United States Code, Sections 231(a)(3))


                                         COUNT FIVE
              18 U.S.C. § 231(a)(3)-Obstruction of Law Enforcement During Civil Disorder

        80.      Paragraphs one through 17 and paragraphs 22 through 72 of this Indictment are re-

alleged and incorporated as though set forth herein.

        81.      On or about January 6, 2021, within the District of Columbia,

committed and attempted to commit an act to obstruct, impede, and interfere with a law

enforcement officer, that is N.I., an officer from the Metropolitan Police Department, lawfully

engaged in official duties incident to and during the commission of a civil disorder, and the civil

disorder obstructed, delayed, and adversely affected commerce and the movement of any article

and commodity in commerce and the conduct and performance of a federally protected function,

as set forth in paragraph 1 through paragraph 17.

        (In violation of Title 18, United States Code, Sections 231(a)(3))

                                         COUNT SIX
          18 U.S.C. § lll(a)(l) and (b)-Inflicting Bodily Injury on Certain Officers

        82.      Paragraphs one through 17 and paragraphs 22 through 72 of this Indictment are re-

alleged and incorporated as though set forth herein.

        83.      On or about January 6, 2021, within the District of Columbia, DANIEL

RODRIGUEZ, using a deadly and dangerous weapon, that is, an electroshock weapon, did

forcibly assault, resist, oppose, impede, intimidate, and interfere with, and inflict bodily injury on,

an officer and employee of the United States, and of any branch of the United States Government

(including any member of the uniformed services), and any person assisting such an officer and



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 employee, that is, M.F., an officer from the Metropolitan Police Department, while such officer

 and employee was engaged in and on account of the performance of official duties, and where the

acts in violation of this section involve physical contact with the victim and th~ intent to commit

another felony.

        (In violation ofTitle 18, United States Code, Sections 11 l(a)(l) and (b))
                                      COUNT.SEVEN
                       18 U.S.C. § 641-Theft of Government Property

        84.    Paragraphs one through 17 and paragraphs 22 through 72 of this Indictment are re-

alleged and incorporated as though set forth herein.

        85.    On or about Jap.uary 6, 2021, within the District of Columbia, the defendants,

                                  DANIEL RODRIGUEZ, and


did embezzle, steal, purloin, and knowingly convert to his use and the use of another, and without

authority, sold, conveyed and disposed of any record, voucher, money and thing of value of the

United States and any department and agency thereof, that is, an emergency escape hood unit and

bag.

       (In violation of Title 18, United States Code, Section 641)
                                     COUNTEIGHT
                   18 U.S.C. § 1361-Destruction of Government Property

       86.     Paragraphs one ~ough 17 and paragraphs 22 through 72 of this Indictment are re-

alleged and incorporated as though set forth herein.

       87.     On or about January 6, 2021, within the District of C~lumbia, DANIEL

RODRIGUEZ, did willfully injure and commit depredation against property oftb.e United States,

and of any department and agency thereof, and any property which has been and is being

manufactured and constructed for the United States, and any department and agency thereof, that

is a window of the United States Capitol building, causing damage in an amount more than $1,000.


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        (In violation of Title 18, United States Code, Section 1361)
                                         COUNT NINE
                    18 U.S.C. § 1361-Destruction of Government Property

        88.    Paragraphs one through 17 and paragraphs 22 through 72 of this Indictment are re-

alleged and incorporated as though set forth herein.

        89.    On or about January 6, 2021, within the District of Columbia,

did willfully injure and commit depredation against property of the United States, and of any

department and agency thereof, and any property which has been and is being manufactured and

constructed for the United States, and any department and agency thereof, that is a door of the

United States Capitol building. ·

        (In violation of Title 18, United States Code, Section 1361)

                                          COUNT TEN
              18 U.S.C. § 1752(a)(l), (b)(l)(A)-Restricted Building or Grounds

       90.     Paragraphs one through 17 and paragraphs 22 through 72 of this Indictment are re-

alleged and incorporated as though set forth herein.

       91.     On or about January 6, 2921, within the District of Columbia, the defendants,

                                     DANIEL RODRIGUEZ,
                                    EDWARD BADALIAN, and


did unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any

posted, cordoned-off, and otherwise restricted area within the Capitol and its grounds, where the

Vice President was temporarily visiting, without lawful authority to do so. In so doing, DANIEL

RODRGIUEZ, during and in relation to the offense, did use and carry a deadly and dangerous

weapon, that is, an electroshock weapon and a flagpole.

       (In violation of Title 18, United States Code, Section 1752(a)(l) and (b)(l)(A))




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                                         A TRUE BILL




                                         FOREPERSON


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MATTHEW M. GRAVES
U.S. ATTORNEY FOR THE UNITED STATES
IN AND FOR THE DISTRICT OF COLUMBIA




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